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                       EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
                                                 §
  BROWSERKEY, LLC,                               §   Case No. 2:24-cv-00800-JRG-RSP
                                                 §   (Lead Case)
                             Plaintiff,          §
                                                 §   JURY TRIAL DEMANDED
                        v.                       §
                                                 §
  WELLS FARGO, N.A.,                             §
                                                 §
                             Defendant.          §
                                                 §
                                                 §
                                                 §
  BROWSERKEY, LLC,                               §   Case No. 2:24-cv-00798-JRG-RSP
                                                 §   (Member Case)
                             Plaintiff,          §
                                                 §   JURY TRIAL DEMANDED
                        v.                       §
                                                 §
  BANK OF AMERICA CORPORATION,                   §
  BANK OF AMERICA, NATIONAL                      §
  ASSOCIATION, and                               §
  MERRILL LYNCH, PIERCE, FENNER &                §
  SMITH INCORPORATED,                            §
                                                 §
                             DefendantDefenda    §
                             nts.                §

                AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff BrowserKey, LLC (“BrowserKey” or “Plaintiff”) for its Amended Complaint

 against Bank of America Corporation (“BOAC”), Bank of America, National Association

 (“BANA”), and Merrill Lynch, Pierce, Fenner & Smith Incorporated (“Merrill Lynch”)

 (collectively, “Bank of America” or “Defendant”)Defendants”), alleges as follows:

                                          THE PARTIES

        1.     BrowserKey is incorporated under the laws of the State of Texas, with a place of

 business located at 101 East Park Boulevard, Suite 600, Plano, Texas 75074.
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           2.     Upon information and belief, BOAC is a corporation organized and existing under

 the laws of the State of Delaware. BOAC is a holding company, of which BANA and Merrill

 Lynch are affiliates.1 BOAC has a place of business at 100 North Tyron Street, Charlotte, North

 Carolina 28255, with additional regular and established places of business in this District at least

 at 2400 North Central Expressway, Plano, Texas 75074; 7001 Independence Parkway, Plano,

 Texas 75025; 2015 Coit Road, Plano, Texas 75075; 850 W. Arapaho Road, Richardson, Texas

 75080; and 551 South Plano Road, Richardson, Texas 75081. Upon information and belief, BOAC

 may be served with process via its registered agent, CT Corporation System, 1999 Bryan Street,

 Suite 900, Dallas, Texas 75201.

           23.    Upon information and belief, Bank of AmericaBANA is a corporation organized

 and existing under the laws of the stateState of Delaware, with a place of business at 100 North

 Tyron Street, Charlotte, North Carolina 28255, and with additional regular and established places

 of business in this District at least at 2400 North Central Expressway, Plano, Texas 75074; 7001

 Independence Parkway, Plano, Texas 75025; 2015 Coit Road, Plano, Texas 75075; 850 W.

 Arapaho Road, Richardson, Texas 75080; and 551 South Plano Road, Richardson, Texas 75081.

 Upon information and belief, DefendantBANA may be served with process via its registered

 agent, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

           4.     Upon information and belief, Merrill Lynch is a corporation organized and existing

 under the laws of the State of Delaware, with a place of business at One Bryant Park, New York,

 New York, 10036, and with additional regular and established places of business in this District at

 least at 6751 Old Jacksonville Highway, Tyler, Texas 75703, 7675 Folsom Drive, Beaumont,

 Texas 77706, 5910 North Central Expressway Suite 2000, Dallas, Texas 75206, and 2100 Ross



 1
     https://investor.bankofamerica.com/fixed-income/corporate-structure

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 Avenue, Suite 1000, Dallas, Texas 75201. Upon information and belief, Merrill Lynch may be

 served with process via its registered agent, CT Corporation System, 1999 Bryan Street, Suite 900,

 Dallas, Texas 75201.

                                  JURISDICTION AND VENUE

        35.     This is an action for patent infringement arising under the patent laws of the United

 States, 35 U.S.C. §§ 1, et seq. This Court has subject matter jurisdiction over this action pursuant

 to 28 U.S.C. §§ 1331, 1332, 1338, and 1367.

        46.     This Court has specific and personal jurisdiction over DefendantDefendants

 consistent with the requirements of the Due Process Clause of the United States Constitution and

 the Texas Long Arm Statute. Upon information and belief, Defendant hasDefendants have

 sufficient minimum contacts with the forum because Defendant hasDefendants have physical

 locations and transactstransact substantial business in the State of Texas and in this Judicial

 District. Further, Defendant hasDefendants have, directly or through subsidiaries or

 intermediaries, committed acts of patent infringement in the State of Texas and in this Judicial

 District as alleged in this Complaint, as alleged more particularly below.

        57.     Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and 1400(b).

 Defendant isDefendants are registered to do business in Texas and, upon information and belief,

 Defendant hasDefendants have transacted business in this Judicial District, hashave committed

 acts of direct and indirect infringement in this Judicial District, and hashave regular and

 established places of business in this Judicial District as set forth above. Defendant isDefendants

 are subject to personal jurisdiction in this Judicial District and hashave committed acts of patent

 infringement in this Judicial District. On information and belief, DefendantDefendants through

 itstheir own acts and/or through the acts of others, makes, uses, sells, offersmake, use, sell, offer

 to sell, and/or importsimport infringing products within this Judicial District, regularly doesdo and


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 solicitssolicit business in this Judicial District, and hashave the requisite minimum contacts

 with the Judicial




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 District, such that this venue is a fair and reasonable one. Further, upon information and belief,

 Defendant hasDefendants have admitted or not contested proper venue in this Judicial District in

 other patent infringement actions.

                                              2
        68.     Upon information and belief, Defendant maintainsDefendants maintain offices

 and physical places of business throughout the United States, including in this Judicial District,

 including, but not limited to: 7105 Corporate Drive, Plano, Texas 75024; 2400 North Central

 Expressway, Plano, Texas 75074; 7001 Independence Parkway, Plano, Texas 75025; 2015 Coit

 Road, Plano, Texas 75075; 850 W. Arapaho Road, Richardson, Texas 75080; and 551 South

 Plano Road, Richardson, Texas 75081.

        9.      Upon information and belief, BOAC, BANA, and Merrill Lynch are all jointly

 responsible for offering their products and services through the Eastern District of Texas. For

 example, the Bank of America website states that “ ‘our’ … refers to banking and non-banking

 U.S. subsidiaries and affiliates.”2 The statement continues to state that “by using our Sites and

 Mobile Apps you agree to the terms and conditions of [the Bank of America Privacy Policy].”

 Merril Lynch’s website has the exact same policy.3 This suggests BOAC, BANA, and Merrill

 Lynch are responsible for the content present on bankofamerica.com.

        10.     Upon information and belief, the Bank of America Mobile Application also

 references BOAC and BANA trademarks, as shown below.




                                                                                           4




 2  https://www.bankofamerica.com/security-center/privacy-overview/
 3
   https://www.ml.com/privacy-and-security-center/privacy-and-security.html
 4
   https://play.google.com/store/apps/details?id=com.infonow.bofa&hl=en_US
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        11.    Upon information and belief, BANA owns Merrill Lynch property within the

 Eastern District of Texas. For example, BANA is listed as the owner of the Merrill Lynch branch

 at 4100 South Medford Avenue, Lufkin, Texas, according to Angelina property tax records.


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 5
  https://esearch.angelinacounty.net/Search/Result?keywords=OwnerName%3A%22Bank%20of
 %20America%22%20Year%3A2024
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   https://www.google.com/maps/place/Merrill+Lynch+Wealth+Management/@31.9617823,-
 96.3631851,8.46z/data=!4m10!1m2!2m1!1sMerrill+Lynch!3m6!1s0x86383d780e62f3fd:0xf4cf
 11dccad2c1aa!8m2!3d31.313716!4d-
 94.7185225!15sCg1NZXJyaWxsIEx5bmNoIgOIAQGSARJpbnZlc3RtZW50X3NlcnZpY2XgA
 QA!16s%2Fg%2F1td6slx3?entry=ttu&g_ep=EgoyMDI1MDEwMi4wIKXMDSoASAFQAw%3
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         712.    Upon information and belief, DefendantDefendants offers itstheir products and

 services throughout Texas, including this Judicial District, by shipping, distributing, offering for

 sale, selling, and advertising itstheir products through its websitetheir websites:




                                                                                                      17




 17 https://locators.bankofamerica.com/?q=Plano,%20TX,%20US; see also

 https://www.dallasnews.com/business/banking/2021/11/04/bank-of-america-is-pumping-86-million-into-
 renovating-its-plano-campus//www.dallasnews.com/business/banking/2021/11/04/bank-of-americ
 a-is-pumping-86- million-into-renovating-its-plano-campus/
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           813.   Upon information and belief, Defendant managesDefendants manage the

 marketing, sales, and provision of services of itstheir products to customers and/or potential

 customers located in Texas and in the Eastern District of Texas.

           14.    Upon information and belief, Defendants hold numerous places of business within

 the Eastern District of Texas. For example, Google Maps shows Defendants’ branch locations held

 out places of business in the Eastern District of Texas. Furthermore, Defendants advertise their

 places of business in the Eastern District of Texas on their own websites.




 8
     https://advisor.ml.com/search?bylocation=true

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   https://www.google.com/maps/search/Bank+of+America/@32.3141208,-
 95.6823931,10z?entry=ttu&g_ep=EgoyMDI1MDEwMi4wIKXMDSoASAFQAw%3D%3D
 10
    https://locators.bankofamerica.com/?q=Plano,%20TX,%20US; see also
 https://www.dallasnews.com/business/banking/2021/11/04/bank-of-america-is-pumping-86-
 million-into-renovating-its-plano-campus/

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        15.     Upon information and belief, Defendants actively seek to employ people that live

 within the Eastern District of Texas. For example, Defendants advertise job openings within the

 Eastern District of Texas.




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 11
   https://advisor.ml.com/search?bylocation=true
 12
   https://careers.bankofamerica.com/en-us/job-
 search?ref=search&start=0&rows=10&search=jobsByLocation&searchstring=Tyler%2C+TX

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                                     U.S. PATENT NO. 7,249,262

           916.   On July 24, 2007, the United States Patent and Trademark Office duly and legally

 issued U.S. Patent No. 7,249,262 (the “’262 Patent”) entitled “Method For Restricting Access To

 A Web Site By Remote Users.” A true and correct copy of the ’262 Patent is attached hereto as

 Exhibit A.

           1017. BrowserKey is the sole and exclusive owner of all right, title, and interest to and in

 the ’262 Patent, and holds the exclusive right to take all actions necessary to enforce its rights to

 the ’262 Patent, including the filing of this patent infringement lawsuit. BrowserKey also has the

 right to recover all damages for infringement of the ’262 Patent as appropriate under the law.

                                 INFRINGEMENT ALLEGATIONS

           1118. The ’262 Patent generally covers a method of restricting access to data maintained

 on a server computer by one or more authorized, networked client machines. The technology was

 developed by Leon E. Hauck and Brent J. Burval. This technique is incorporated into web and

 mobile      applications   made    by    numerous    banking    institutions,   including   Bank      of

 AmericaDefendants.



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      https://careers.bankofamerica.com/en-us/job-
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 search?ref=search&start=0&rows=10&search=jobsByLocation&searchstring=Plano%2C+TX
        12.     Bank of America has19.  Defendants have manufactured, used, marketed,

 distributed, sold, offered for sale, exported from, and imported into the United States, products

 that infringe the ’262 Patent. These Accused Products include at least all versions and variants of

 the Bank of America Web and Mobile Applications, including web and mobile applications for

 all Bank of America affiliates214 (e.g., Merrill Lynch) since 2018.



 2
     https://www.bankofamerica.com/security-center/affiliate-companies/
                                                 4
           1320. BrowserKey has at all times complied with the marking provisions of 35 U.S.C.

 § 287 with respect to the ’262 Patent.

                                             COUNT I
                                  (Infringement of the ’262 Patent)

         1421. Paragraphs 1 through 1320 are incorporated by reference as if fully set forth herein.

         1522. BrowserKey         has    not   licensed   or   otherwise   authorized    Bank    of

 AmericaDefendants to make, use, offer for sale, sell, or import any products that embody the

 inventions of the ’262 Patent.

         16.    Bank of America23. Defendants directly infringes the ’262 Patent, either literally

 or under the doctrine of equivalents, without authority and in violation of 35 U.S.C. § 271, by

 making, using, offering to sell, selling, and/or importing into the United States products that

 satisfy each and every limitation of one or more claims of the ’262 Patent. These products

 include at least all versions and variants of the Bank of America Web and Mobile Applications,

 for example the “Bank of America Mobile Banking” application for iOS and Android.

         1724. For example, Bank of AmericaDefendants directly infringesinfringe at least claim

 11 of the ’262 Patent by making, using, offering to sell, selling, and/or importing into the United

 States products that practice a method of restricting access to data maintained on a server


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 computer by an authorized client machine, said method comprising the steps of: a. creating a

 session identifier in a computer




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      https://www.bankofamerica.com/security-center/affiliate-companies/




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         remote from the client machine for a current browsing session of the client machine; b.

 transmitting to the client machine the session identifier created in step a.; c. storing the session

 identifier transmitted in step b. within the client machine; d. verifying, on the client machine, that

 the client machine is authorized to access data maintained on the server computer; e. obtaining

 the session identifier stored in step c., and storing such session identifier within a storage table

 remote from the client machine if such client machine was verified in step d.; f. transmitting a

 request by the client machine for access to data maintained on the server computer, such request

 including the session identifier stored in step c.; g. comparing the session identifier transmitted in

 step f. with

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  the session identifier stored in the storage table during step e. to determine whether the request

 for access transmitted in step f. is authorized; and h. permitting access by the client machine to

 the requested data maintained on the server computer if the comparison made in step g. shows that

 the request for access is authorized, and denying access by the client machine to the requested

 data maintained on the server computer if the comparison made in step g. shows that the request

 for access is not authorized.

         1825. The Accused Products practice a method of restricting access to data maintained on

 a server computer by an authorized client machine. For example, upon information and belief, on

 client machines running the Bank of America Mobile Application variant for Apple iOS, one

 method by which an operator may sign in to access Bank of America’s “protected URLs,” as a

 Bank of America account holder, is via Apple’s Touch and Face ID (locally compared

 “biometrics”).

         1926. The Accused Products further practice a method creating a session identifier in a

 computer remote from the client machine for a current browsing session of the client machine. For



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 example, upon information and belief, Bank of America server computer(s) create one or more




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 session identifiers, remote from the client machine, when a new user agent session on the client

 machine initially requests, via the HTTP protocol, a Bank of America “protected URL.”

        2027. Further, upon information and belief, when first launching the Bank of America

 Mobile Application, a user agent requests Bank of America URLs. In response to the request, one

 or more name-value pair(s) are created by the Bank of America server(s).

        2128. The Accused Products further practice a method of transmitting to the client

 machine the session identifier created in step a. Upon information and belief, Bank of America

 transmitsDefendants transmit the session identifier(s) to the client machine via the Internet.

 Session identifier(s) are

                                              6
         transmitted by the Bank of America HTTP server computer(s) to the client machine via

 one or more HTTP response headers and/or HTTP response bodies.

        2229. The Accused Products further practice a method of storing the session identifier

 transmitted in step b. within the client machine. Upon information and belief, per instructions from

 Bank of America servers and/or Bank of America computer code, the web browser stores the

 session identifiers(s) on the client machine.




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         2330. The Accused Products further practice a method of verifying, on the client machine,

 that the client machine is authorized to access data maintained on the server computer. Upon

 information and belief, when the client machine supports Apple Touch / Face ID, and the Bank of

 America Mobile Application has been provisioned to sign in to Bank of America online services


 3
     https://www.bankofamerica.com/content/documents/privacy/us-online-privacy-notice-en.pdf
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            via Touch / Face ID, Bank of America computer code automatically prompts the

 operator to sign in via Touch / Face ID immediately after the application is launched. The

 identity of the user is then verified on client machine, and the client machine sends that

 acknowledgement to the Bank of America online service.16




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        https://www.bankofamerica.com/content/documents/privacy/us-online-privacy-notice-en.pdf
 16
      https://support.apple.com/guide/security/biometric-security-sec067eb0c9e/web




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         2431. The Accused Products further practice a method of obtaining the session identifier

 stored in step c., and storing such session identifier within a storage table remote from the client

 machine if such client machine was verified in step d. Upon information and belief, the Bank of

 America Web Application is an extension or related and Mobile Applications, after verification

 of the user, sends the unique session identifier stored in step c to a remote Bank of America storage

 table storing session identifier(s).For example, upon information and belief, the Bank of America

 Mobile Application further obtains session identifiers associated with a login such as static or

 dynamic session ID, token, and/or certificate.




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       https://www.bankofamerica.com/online-banking/mobile-and-online-banking-features/touch-id/

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  storing session identifier(s).




            2532. The Accused Products further practice a method of transmitting a request by the

  client machine for access to data maintained on the server computer, such request including the

  session identifier stored in step c. Uponupon information and belief, per instructions from Bank

  of America servers and/or Bank of America computer code, upon successful sign in, the user

  agent is automatically redirected to the default Bank of America Mobile Application page (a

  Bank of America “Protected URL”) which invokes one or more HTTP requests. The HTTP

  request(s) are transmitted by the client machine and such request(s) include session identifier(s)

  to overcome limitations of the stateless HTTP protocol.

            2633. The Accused Products further practice a method of comparing the session identifier

  transmitted in step f. with the session identifier stored in the storage table during step e. to

  determine whether the request for access transmitted in step f. is authorized. Upon information and

     belief, Bank of America compares session identifier(s) remotely. For example, when session

  cookies (which store session identifiers(s)) are deleted from the client machine, the client machine

     is no longer logged in and no longer able to access Bank of America “Protected URLs.” Further,

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 Bank of America indicates that “[i]f you delete cookies . . . you may be prompted to make

 selections again:”518 for example, upon information and belief, Bank of America servers

 supporting the Bank of America Mobile and Web Applications compare the session identifier to

 the one stored in a storage table to identify whether the request for access (e.g., to a bank

 account) is authorized (e.g., whether the user is logged in based on a username and password and/or

 biometric information presented to the Web or Mobile Application).




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        2734. The Accused Products further practice a method of permitting access by the client

 machine to the requested data maintained on the server computer if the comparison made in step

 g. shows that the request for access is authorized, and denying access by the client machine to the

 requested data maintained on the server computer if the comparison made in step g. shows that the

 request for access is not authorized. Upon information and belief, if the client machine is signed

 in, access to data maintained on Bank of America serversserver(s) is authorized by Bank of



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 America. If

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  the client machine is not signed in, access to data maintained on Bank of America servers(s)

 is denied by Bank of America.

 denied by Bank of America. For example, upon information and belief, the session identifier is

 stored in temporary memory associated with the Bank of America Mobile and Web Applications

 (e.g., temporary memory of a web browser, temporary memory of a secure element in a mobile

 device, and/or other memory protected by cryptographic material), or is stored as a temporary file

 which expires based on the duration allowed for a user’s login (e.g., a default or user-selected

 duration in the user’s security settings).

         28.     Bank of America35. Defendants indirectly infringesinfringe one or more claims of

 the ’262 Patent by knowingly and intentionally inducing others, including Bank of America

 customers and end-users of the Accused Products and products that include the Accused

 Products, to directly infringe, either literally or under the doctrine of equivalents, by making,

 using, offering to sell, selling, and/or importing into the United States products that include

 infringing technology, such as the Bank of America Web and Mobile Applications.

         29.     Bank of America has36.       Defendants have indirectly infringed one or more

 claims of the ’262 Patent, as provided by 35 U.S.C. § 271(b), by inducing infringement by

 others, such as Bank of America’s customers and end-users, in this District and elsewhere in the

 United States. For example, Bank of America’s customers and end-users directly infringe, either

 literally or under the doctrine of equivalents, through their use of the inventions claimed in the

 ’262 Patent. Bank of America inducesDefendants induce this direct infringement through itstheir

 affirmative acts of manufacturing, selling, distributing, and/or otherwise making available the

 Accused Products, and providing instructions, documentation, and other information to customers



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 and end-users suggesting that they use the Accused Products in an infringing manner, including

 technical support, marketing, product manuals, advertisements, and online documentation.

 Because of Bank of America’sDefendants’ inducement, Bank of America’sDefendants’

 customers and end-users use the Accused Products in a way Bank of America

 intendsDefendants intend and directly infringe the ’262 Patent. Bank of America performs




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 Defendants perform these affirmative acts with knowledge of the ’262 Patent and with the intent,

 or willful blindness, that the induced acts directly infringe the ’262 Patent. For example,

 Defendants had direct knowledge of the ’262 Patent as evident from the fact that Defendants cited

 the ’262 Patent during the prosecution of application 12/845,881.19 Additionally, Defendants also

 cited to the ’262 Patent’s priority application during the prosecution of applications 13/097,828

 and 12/845,881, and U.S. Patent No. 9,026,991.20

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        30.     Bank of America has37.       Defendants have indirectly infringed one or more

 claims of the ’262 Patent, as provided by 35 U.S.C. § 271(c), by contributing to direct

 infringement by others, such as customers and end-users, in this District and elsewhere in the

 United States. Bank of America’sDefendants’ affirmative acts of selling and offering to sell the

 Accused Products in this District and elsewhere in the United States and causing the Accused

 Products to be manufactured, used, sold, and offered for sale contributes to others’ use and

 manufacture of the Accused Products, such that the ’262 Patent is directly infringed by others.

 The accused components within the Accused Products are material to the invention of the ’262

 Patent, are not staple articles or commodities of commerce, have no substantial non-infringing

 uses, and are known by Bank of AmericaDefendants to be especially made or adapted for use in

 the infringement of the ’262 Patent. Bank of America performsDefendants perform these

 affirmative acts with knowledge of the ’262 Patent and with intent, or willful blindness, that they

 cause the direct infringement of the ’262 Patent.




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            3138. BrowserKey has suffered damages as a result of Defendant’sDefendants’ direct

 and indirect infringement of the ’262 Patent in an amount to be proved at trial.

                                      DEMAND FOR JURY TRIAL

            Plaintiff hereby demands a jury for all issues so triable.

                                         PRAYER FOR RELIEF

            WHEREFORE, BrowserKey prays for relief against Bank of AmericaDefendants as
            follows:

            a.     Entry of judgment declaring that Bank of America hasDefendants have directly

 and/or indirectly infringed one or more claims of the ’262 Patent;

            b.     Entry of judgment declaring that Bank of America’sDefendants’ infringement of
                   the ’262 Patent is willful;

 willful;

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            c.     An order awarding damages sufficient to compensate BrowserKey for

 Defendant’sDefendants’ infringement of the ’262 Patent, but in no event less than a reasonable

 royalty, together with pre- judgment and post-judgment interest and costs;

            d.     Entry of judgment declaring that this case is exceptional and awarding

 BrowserKey its costs and reasonable attorneys’ fees under 35 U.S.C. § 285;

            e.     An accounting for acts of infringement;

            f.     Such other equitable relief which may be requested and to which the Plaintiff is

 entitled; and

            g.     Such other and further relief as the Court deems just and proper.



 Dated: October 2January 9, 20242025                       Respectfully submitted,

                                                           /s/ Vincent J. Rubino, III
                                                           Alfred R. Fabricant
                                                           NY Bar No. 2219392
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                                            Email: ffabricant@fabricantllp.com




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                                             ATTORNEYS FOR PLAINTIFF
                                             BROWSERKEY INC.

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